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     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-454-GEB
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     JOSEPH ANDRADE,                                )       Date: January 31, 2014
                                                    )       Time: 9:00 a.m.
13
                                                    )       Judge: Honorable Garland E. Burrell, Jr.
                                                    )
14
            Defendant.                              )
                                                    )
15
                                                    )
16
            The parties hereby stipulate the following:
17

18          1. Judgment and sentencing in this matter is presently set for January 10, 2014. Counsel
19              for the parties request the date for judgment and sentencing be continued to
20              January 31, 2014, at 9:00 a.m. Counsel for Mr. Andrade needs additional time to
21              respond to information in the presentence report. Assistant U.S. Attorney Jill Thomas
22              and USPO Scott Storey have been advised of this request and have no objection. The
23              parties requests the Court adopt the following schedule pertaining to the presentence
24              report:
25
                Judgment and Sentencing date:                                       1/31/14
26
                Reply, or Statement of Non-Opposition:                              1/24/14
27

28
                Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the


                                                        1
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              Probation Officer and opposing counsel no later than:         1/17/14
 1

 2            The Presentence Report shall be filed with the Court
              And disclosed to counsel no later than:                       1/10/14
 3
              Counsel’s written objections to the Presentence Report
 4
              Shall be delivered to the probation officer and opposing
 5            Counsel no later than:                                        1/3/14

 6

 7
     IT IS SO STIPULATED.
 8

 9

10
     Dated: December 17, 2013                                 /s/ John R. Manning
                                                              JOHN R. MANNING
11                                                            Attorney for Defendant
                                                              Joseph Andrade
12

13
     Dated: December 17, 2013                                 Benjamin B. Wagner
14                                                            United States Attorney
15
                                                       by:    /s/ Jill Thomas
16                                                            JILL THOMAS
                                                              Assistant U.S. Attorney
17
                                               ORDER
18

19         IT IS SO FOUND AND ORDERED.
20   Dated: December 17, 2013

21

22

23

24

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                                                   2
